Case 7:21-cr-00464-VB Documenté6 Filed 11/01/21 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

X
UU SQ |
Plaintiff(s), CALENDAR NOTICE
v. Al CA 46¥ we)
Heylett__.
WJ Defendant(s).
X

 

PLEASE TAKE NOTICE that the above-captioned case has been, scheduled/
dononoeet for:

____ Status conference ____ Final pretrial conference
____ Telephone conference ___ Jury selection and trial
____ Pre-motion conference ____ Bench trial

___ Settlement conference ____ Suppression hearing
____ Oral argument Area hearing

___ Bench ruling on motion ____ Sentencing

on Il- /§- 20 2 _ at tt = 20 AASein Courtroom 620, United States

Courthouse, 300 Quarropas Street, White Plains, NY 10601. all

All requests for adjournments or extensions of time must be in writing and
filed on ECF as letter-motions, in accordance with paragraph 1(F) of the Court's
individual Practices. Absent special circumstances, such requests shall be made at
least two business days prior to the scheduled appearance.

pater JM f- 2024

White Plains, NY |

Vincent L. Briccetti
United States District Judge

 

 

 
